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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO. 22-MJ-8332-BER


  IN RE SEALED SEARCH WARRANT

  ________________________________/

        NOTICE OF FILING OF REDACTED SEARCH WARRANT AFFIDAVIT
             AND REDACTED EX PARTE MEMORANDUM OF LAW
                   CONCERNING PROPOSED REDACTIONS

         The United States gives notice that, in compliance with the Court’s August 25, 2022

  Order To Unseal, Docket Entry (“D.E.”) 94, it hereby files the redacted version of the search

  warrant affidavit, submitted in support of the search warrant signed and approved by the

  Court on August 5, 2022. The redactions were previously submitted for the Court’s review

  and approved by the Court’s August 25, 2022 Order (DE89-1; DE94).

         In addition, this notice includes a redacted copy of the government’s Sealed, Ex Parte

  Memorandum of Law Concerning Proposed Redactions, filed on August 25, 2022, along with

  Exhibit B to that Memorandum, a redacted chart explaining the government’s proposed

  redactions—both of which the Court ordered unsealed on August 26, 2022. Exhibit A to that

  filing consists of the proposed redactions to the affidavit, which accompanies this Notice in

  its final, redacted form.

                                                    Respectfully submitted,

                                                    _/s Juan Antonio Gonzalez ________
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